2:25-cv-00374-wks   Document 26-5   Filed 04/02/25   Page 1 of 3




              EXHIBIT 5
               2:25-cv-00374-wks      Document 26-5        Filed 04/02/25        Page 2 of 3




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 RÜMEYSA ÖZTÜRK,
                                  Petitioner,
     v.                                                      Civil Action No. 1:25-cv-10695-DJC

 DONALD J. TRUMP, et al.,
                                  Respondents.


                   DECLARATION OF PROFESSOR ANNA R. WELCH, ESQ.


          I, Anna R. Welch, declare the following under pain and penalty of perjury:

          1.      I am an attorney licensed to practice in the State of Maine.

          2.      Since 2012, I have worked as the founding director and a professor in the University

of Maine School of Law’s Refugee and Human Rights Clinic. I also teach Immigration Law. I

previously worked as a fellow at Stanford Law School, where I taught and supervised students in

Stanford’s Immigrants’ Rights Clinic. From 2006 to 2010, I practiced at the law firm Verrill in

Portland, Maine, where I was the head of the firm’s Immigration and Global Migration Group.

          3.      The information below is based on my years of immigration practice in Maine,

including monitoring and interacting with and supervising students and colleagues interacting with

dozens of civil immigration detainees at the Cumberland County Jail (“CCJ”) in Portland, Maine,

and including my communications with CCJ’s management staff over the years.

          4.      CCJ has an agreement with U.S. Immigration and Customs Enforcement (“ICE”)

to house civil immigration detainees. I have been informed recently by Cumberland County’s

Sheriff Joyce that CCJ can house up to 88 civil immigration detainees.

          5.      CCJ houses both male and female civil immigration detainees. Female detainees

are housed at CCJ whether or not they have a criminal record.


                                                   1
            2:25-cv-00374-wks     Document 26-5        Filed 04/02/25     Page 3 of 3




       6.      CCJ provides our clinic with daily data concerning, among other things, the number

of civil immigration detainees housed in its facility.       Paragraphs 7-11 below summarize

voluminous writings that cannot be conveniently examined in court, in part because they contain

personally identifying information concerning certain persons housed in CCJ.

       7.      On March 7, 2025, records indicated that approximately 27 civil immigration

detainees were housed in Pod C3 at CCJ. Pod C3 is the female housing unit.

       8.      On March 7, 2025, records indicated that approximately 62 total female detainees,

including civil immigration detainees, were housed at CCJ.

       9.      On March 25, 2025, records indicated that approximately 19 civil immigration

detainees were housed in Pod C3 (the female housing unit) at CCJ.

       10.     On March 26, 2025, records indicated that approximately 18 civil immigration

detainees were housed in Pod C3 (the female housing unit) at CCJ.

       11.     On March 26, 2025, records indicated that approximately 46 total female detainees,

including civil immigration detainees, were housed at CCJ.

       12.     Based on my review of these records, and my extensive experience working with

CCJ and detainees at CCJ over more than a decade, I conclude that there were at least 16 open

beds to house additional female detainees at CCJ on March 25 & 26, 2025.

       13.     Throughout my years of experience working with the immigrant population in

northern New England, I have never heard of an ICE detainee being arrested in Massachusetts and

being transferred to Methuen, MA, Lebanon, NH, and then St. Albans, VT in a matter of hours.

       Executed on April 2, 2025, in Boston, MA.




                                            Anna R. Welch


                                               2
